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                         THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

ACKERMAN MCQUEEN, INC.                           §
                                                 §
       Plaintiff,                                §
                                                 §
v.                                               §   CIVIL ACTION NO. 3:19-CV-03016-X
                                                 §
GRANT STINCHFIELD,                               §
                                                 §
       Defendant.                                §
                                                 §


                  DEFENDANT GRANT STINCHFIELD’S 12(c)
           MOTION TO DISMISS PLAINTFF’ S CLAIMS WITH PREJUDICE


        Defendant Grant Stinchfield (“Stinchfield”) hereby files, through the undersigned

counsel, the instant 12(c) Motion to Dismiss Plaintiff’s claims against him with prejudice.

Accompanying this Motion is a supporting brief detailing Stinchfield’s claims. In the supporting

brief, Stinchfield explains that Plaintiff’s claims are barred by litigation privilege as a matter of

law and as a matter of public policy.

        WHEREFORE, for good cause shown in the submissions filed with the Court, Stinchfield

requests that the court dismiss Plaintiff’s claims against him with prejudice and grant Stinchfield

all appropriate remedies.




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September 14, 2020                            Respectfully submitted,

                                              BREWER STOREFRONT, PLLC

                                              By:       /s/ Ian Shaw__________________
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                                 CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing document was electronically

served via the Court’s electronic case filing system upon all counsel of record on this 14th day of

September 2020.




                                              /s/ Ian Shaw
                                              Ian Shaw




4817-1897-6200, v. 1




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